        Case 2:10-cr-00168-DAD Document 36 Filed 05/05/10 Page 1 of 3


 1   DONALD MASUDA, State Bar No. 096560
     Attorney at Law
 2   KENNY N. GIFFARD, State Bar No. 101727
     Attorney at Law
 3   2214 21st Street
     Sacramento, California 95818
 4   Telephone: (916) 456-3030
 5   Attorney for Defendant
     TAC CHE
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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                         Case No. 2:10-cr-00168 JAM-1
12
                   Plaintiff,
13
      vs.                                              SUBSTITUTION OF ATTORNEY
14                                                     AND ORDER
     TAC CHE, et al,
15
                   Defendants.
16
                                                      /
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21            TO: THE COURT AND ALL PARTIES:
22                 Defendant, TAC CHE, substitutes DONALD MASUDA, ESQ., Attorney
23   at Law, and KENNY N. GIFFARD, ESQ., Attorney at Law, 2214 21st Street, Sacramento,
24   California 95818, telephone: (916) 456-3030, as his attorneys in place and instead of MICHAEL
25   //////
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     ______________________________________________________________________________
     SUBSTITUTION OF ATTORNEY AND (PROPOSED) ORDER
       Case 2:10-cr-00168-DAD Document 36 Filed 05/05/10 Page 2 of 3


 1   E. HANSEN, ESQ., Attorney at law, 711 9th Street, Suite 100, Sacramento, California 95814.
 2                 I consent to this substitution.
 3
 4   Dated: May 4, 2010                                    /s/ Tac Che
                                                     __________________________________________
 5                                                   TAC CHE
 6
                   I consent to this substitution.
 7
 8
     Dated: May 4, 2010                                    /s/ Michael E. Hansen
 9                                                   __________________________________________
                                                     MICHAEL E. HANSEN, ESQ.
10
11                 I consent to this substitution.
12
13   Dated: May 4, 2010                                    /s/ Donald Masuda
                                                     __________________________________________
14                                                   DONALD MASUDA, ESQ.
15
                   I consent to this substitution.
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17
     Dated: May 4, 2010                                    /s/ Kenny N. Giffard
18                                                   __________________________________________
                                                     KENNY N. GIFFARD, ESQ.
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     ______________________________________________________________________________
     SUBSTITUTION OF ATTORNEY AND (PROPOSED) ORDER
       Case 2:10-cr-00168-DAD Document 36 Filed 05/05/10 Page 3 of 3


 1                                           ORDER
 2                GOOD CAUSE THERE APPEARING, and at the request of defendant
 3   Tac Che, it is hereby ordered that MICHAEL E. HANSEN, ESQ., is relieved as appointed
 4   counsel for this defendant and that DONALD MASUDA, ESQ., and KENNY N.
 5   GIFFARD, ESQ., are allowed to substitute-in, in his stead, as retained counsel for Mr.
 6   Che.
 7   IT IS SO ORDERED.
 8   Dated: May 5, 2010
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10                                            /s/ John A. Mendez
                                              JOHN A. MENDEZ
11                                            United States District Judge
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     ________________________________________________________________________
     SUBSTITUTION OF ATTORNEY AND (PROPOSED) ORDER
